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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 NUVASIVE, INC.,                          )
                                          )
                                          )
      Plaintiff,                          ) Case No.:
                                          ) 6:17-cv-2206-Orl-41GJK
 VS                                       )
                                          )
                                          )
 ABSOLUTE MEDICAL, LLC, ABSOLUTE          )
 MEDICAL SYSTEMS, LLC, GREG               )
 SOUFLERIS, DAVE HAWLEY, and              )
 RYAN MILLER,                             )
                                          )
      Defendants.                         )
 _________________________________________)

   DEFENDANTS’ MOTION FOR RECONSIDERATION OF DISCOVERY
                          ORDER
       COME NOW Defendants Gregory Soufleris (“Soufleris”) and Absolute

 Medical Systems, LLC (“AMS”) and through undersigned counsel and pursuant to

 Fed. R. Civ. P. 60 file this Motion for Reconsideration of Discovery Order seeking

 relief from this Court’s August 20, 2021 Order (Doc. 319) (the “Order”) granting in

 part Plaintiff’s Motion to Compel, and show this Court as follows:

        The Court’s Order makes a blanket assumption that all documents requested

 by NuVasive, Inc. (“NuVasive”) are relevant to the pending claims. However, the

 information requested has either been previously produced or are entirely irrelevant

 to the pending claims. For example, NuVasive’s requests seek Soufleris’ personal

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 tax returns and other personal financial documents, as well as the financial

 documents of unrelated entities who are not parties to this litigation.1 (Doc. 301-1.)

 Considering the duplicative nature of the requests, and the lack of proportionality to

 the pending claims, NuVasive’s motion to compel should have been denied.

        A party may obtain discovery of “any nonprivileged matter that is relevant to

 any party’s claim or defense and proportional to the needs of the case, considering

 the importance of the issues at stake in the action… the importance of the discovery

 in resolving the disputes, and whether the burden or expense of the proposed

 discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). Evaluating

 proportionality “must start with the actual claims and defenses in the case, and a

 consideration of how and to what degree the requested discovery bears on those

 claims and defenses." Digital Assur. Certification, LLC v. Pendolino, 2017 U.S.

 Dist. LEXIS 160399, *24 (M.D. Fla. 2017). Here, Florida law recognizes that a

 person's financial information is private and that discovery should be limited to

 matters relating to contested issues in the case. See Woodward v. Berkery, 714 So.

 2d 1027, 1035-36 (Fla. 4th DCA 1998). Thus, in prejudgment discovery, a party is

 entitled only to the opponent's financial records that pertain to the pending action.


 1
   NuVasive seeks financial records for non-parties Absolute Ortho, LLC, The Absolute Group,
 Spinal Solutions Group, LLC, Blackfin Assets, LLC, Blackfin Funds, Inc., Durastat South East,
 LLC, Innovative Ancillary Solutions, LLC, and JHS Sales Consulting, LLC. This information is
 entirely irrelevant as to its claims against Soufleris or AMS. Likewise, AMS’s bank statements,
 credit card statements, quickbooks records, etc. are not relevant to NuVasive’s claims for breach
 of the Sales Agreement and are an improper attempt at post judgment discovery.
                                                2
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 See Regions Bank v. MDG Frank Helmerich, LLC, 118 So. 3d 968, 969 (Fla. 2DCA

 2013).

        Here, NuVasive’s requests must be limited to the previously stayed claims for

 statutory individual liability, piercing corporate veil, Florida Unfair and Deceptive

 Practices Act, and tortious interference. Despite this, NuVasive seeks Soufleris and

 AMS’s tax returns, unrelated financial information, and the financial documents of

 unrelated non-parties. NuVasive’s requests are plainly not proportional to the claims

 pending before this Court.2 Accordingly, NuVasive’s motion to compel production

 of tax returns, nonparties’ financial documents, and previously answered requests,

 should be denied in its entirety.

                     Requests for Additional Briefing and Hearing

        Defendants respectfully requests permission to provide further briefing on the

 overly broad nature of Plaintiff’s requests and respectfully requests a hearing on its

 Motion for Reconsideration.




 2
   With respect to the piercing the corporate veil claim, Plaintiff must establish by a preponderance
 of the evidence that: “(1) the shareholder dominated and controlled the corporation to such an
 extent that the corporation[’s] independent existence, was in fact non-existent and the...
 shareholders were in fact alter egos of the corporation; (2) the corporate form must have been used
 fraudulently or for an improper purpose; and (3) the fraudulent or improper use of the corporate
 form caused injury to the claimant.” In re Hillsborough Holdings Corp., 166 B.R. at 468–69 (citing
 Dania Jai–Alai Palace, Inc. v. Sykes, 450 So. 2d 1114 (Fla.1984)).
                                                  3
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                          Local Rule 3.01(g) Certification

       Undersigned counsel for Defendants certifies that he conferred with counsel

 for Plaintiff regarding this motion. Counsel for Plaintiff are opposed to the relief

 requested herein.



       Dated: August 26, 2021

                                       Respectfully,

                                       /s/ Bryan E. Busch
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                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 26, 2021, I electronically filed the
 foregoing with the Clerk of the Court utilizing the CM/ECF system. I further certify
 that I electronically transmitted a true copy to:

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